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              Oral argument not yet scheduled
                         No. 21-3722
         UNITED STATES COURT OF APPEALS
              FOR THE SIXTH CIRCUIT

                        Scott Creech,
                                         Plaintiff-Appellant,
                              v.
    Ohio Department of Rehabilitation and Correction,
                                       Defendant-Appellee.

       Appeal from the United States District Court
            for the Southern District of Ohio
           Case No. 2:19-cv-104 (Graham, J.)


    OPENING BRIEF FOR PLAINTIFF-APPELLANT
                SCOTT CREECH


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December 10, 2021
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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 21-3722                              Case Name: Creech v. Ohio Dept of Rehabilitation
 Name of counsel: Hannah Mullen

 Pursuant to 6th Cir. R. 26.1, Scott Creech
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

  No.




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  No.




                                             CERTIFICATE OF SERVICE

 I certify that on _____________________________________
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                                 s/ Hannah Mullen




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




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8/08                                                                                                                 Page 1 of 2
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                            INTRODUCTION
  Scott Creech suffered brain hemorrhaging, compression fractures in his

neck and back, broken ribs, and a torn ACL when he was injured in a severe
motorcycle accident. The long-term effects of the crash make it difficult for
Mr. Creech to stand and walk. But with a cane, he can get around well

enough. Mr. Creech is currently incarcerated in an Ohio state prison, where
he used his cane for nearly eight years without incident and with great
benefit. With his cane, he was able to walk laps around the yard to keep
healthy. Then a nurse practitioner determined that Mr. Creech’s cane was no
longer “medically indicated” and confiscated it for three years.
  In the first year without his cane, Mr. Creech tried to stay active and
continue walking outside every day. But he struggled to get around safely
and sometimes became nearly immobilized by his pain. After several close
calls, where Mr. Creech could barely hobble back inside to avoid missing the
prison count, he stopped trying to go outside. Mr. Creech repeatedly fell
because he was unable to maintain his balance without his cane. It also
became difficult for him to access the cafeteria and prison law library, and

he could no longer join other inmates on the bleachers to watch sports games
in the yard. Unable to move and exercise, Mr. Creech gained weight and his
body stiffened, exacerbating his pain.


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   The Ohio Department of Rehabilitation and Correction violated Title II of
the Americans with Disabilities Act by failing to accommodate Mr. Creech’s

disability when it took away his cane. The ADA requires public entities,
including prisons, to provide reasonable accommodations to individuals
with disabilities who are otherwise qualified to enjoy the entity’s services,

programs, or activities, yet are excluded from those activities by reason of
their disability. Mr. Creech meets those criteria.
   Nor does the Eleventh Amendment shield the Department from liability.

Congress may abrogate states’ immunity from suit when it validly exercises
its power under the Fourteenth Amendment to enact prophylactic
legislation to protect constitutional rights. No one disputes that Congress

intended to abrogate the states’ Eleventh Amendment immunity when it
passed Title II of the ADA, and Title II is well-tailored to the constitutional
harms against people with disabilities that Congress sought to remedy. In

enacting Title II and earlier legislation to protect prisoners with disabilities,
Congress assembled a voluminous record documenting countless state
violations of the constitutional rights of inmates with disabilities. Still, Title

II requires states to take only certain actions to comply with its mandates.
The Department is not free to neglect and mistreat inmates with disabilities
up to the line of unconstitutionality, as Congress has reasonably prohibited

that behavior to prevent actual constitutional violations.

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                   REQUEST FOR ORAL ARGUMENT
  Plaintiff-Appellant Scott Creech requests oral argument. Argument

would aid the Court in evaluating his claim under the Americans with
Disabilities Act and the important question whether Congress validly
abrogated the states’ Eleventh Amendment immunity in Title II of the ADA.

                    STATEMENT OF JURISDICTION
  The district court had subject-matter jurisdiction under 28 U.S.C. § 1331.
The district court’s June 30, 2021 Decision and Order granted the

Department’s motion for summary judgment, disposing of all claims of all
parties. (RE 94, Decision and Order, PageID 1126.) The district court issued
a separate judgment on the same date, dismissing the action with prejudice.

(RE 95, Judgment, PageID 1127.) Plaintiff-Appellant Scott Creech timely filed
a notice of appeal on July 30, 2021, which was docketed on August 6, 2021.
(RE 98, Notice of Appeal, PageID 1141.) See Fed. R. App. P. 4(c). This Court

has jurisdiction under 28 U.S.C. § 1291.

                      STATEMENT OF THE ISSUES
  I. Title II of the Americans with Disabilities Act prohibits discrimination
against individuals with disabilities in the provision of public services and,
accordingly, requires public entities to make reasonable accommodations for

individuals with disabilities. After the Department took away Mr. Creech’s



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cane for three years, Mr. Creech struggled to access basic prison services
including the cafeteria, yard, and law library.

   The first issue is whether the Department violated Title II of the ADA
when it took away Mr. Creech’s cane.
   II. Under Section 5 of the Fourteenth Amendment, Congress may

abrogate states’ Eleventh Amendment immunity, thus exposing them to
suits. An abrogation is valid if it is congruent and proportional to a pattern
of underlying constitutional violations.

   The second issue is whether Congress validly abrogated the states’
immunity from suits about prison administration when it enacted Title II of
the ADA.

                       STATEMENT OF THE CASE

I. Factual background
   In August 1999, Plaintiff-Appellant Scott Creech was seriously injured in

a motorcycle accident. (RE 17, Amended Complaint, PageID 98.) He was
airlifted to a hospital, where he remained for almost a month as he recovered
from brain hemorrhaging, compression fractures in his neck and back,

broken ribs, damaged lungs, and a torn ACL. (RE 66, Creech Deposition,
PageID 465-66.) The accident left him with permanent brain and
musculoskeletal injuries, double vision, and poor balance. (RE 65, Mot. for

Summ. J., PageID 319; RE 73, Def’s Opp. and Cross-Mot. for Summ. J.,
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PageID 810.) Today, Mr. Creech has difficulty standing and walking and
suffers from severe pain in his hip and leg. (RE 17 PageID 98-100.)

  To help him get around, Mr. Creech’s physician prescribed him a cane.
(RE 17 PageID 99; RE 66 PageID 488-89.) But when he entered the Ohio
prison system in 2008, Defendant-Appellee Ohio Department of

Rehabilitation and Correction confiscated his cane. (RE 17 PageID 99.) After
Mr. Creech repeatedly inquired about a mobility aid, multiple medical
providers at Chillicothe Correctional Institution “determined that Creech

required a cane … to aid[] in mobility purposes” and returned it to him. (Id.)
Mr. Creech later saw an orthopedic surgeon at Ohio’s Correctional Medical
Center who granted him medical access to a bottom bunk bed and advised

him to continue using his cane as needed. (RE 66 PageID 498-99.)
  With his cane, Mr. Creech walked outside every day to maintain his
health. (RE 65 PageID 404; RE 66 PageID 507.) Others in the prison knew that

Mr. Creech was dedicated to being healthy. He even signed an agreement
with the prison warden that he would walk two miles every day. (RE 66
PageID 507.) Some days, he was able to walk up to five miles. (Id.) Mr. Creech

took these walks with a group of fellow inmates, who remember that he
could be “hard to keep up with” when he was “in cane drive.” (RE 65 PageID
405.) Exercising, Mr. Creech says, lets him manage his long-term injuries by



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“help[ing] me sleep at night. It gets my natural pain killers going. It keeps
me healthy.” (RE 66 PageID 508.)

  Mr. Creech used his cane for years without incident. (See RE 65 PageID
330-35.) Then, in August 2016, a prison nurse practitioner overrode Mr.
Creech’s medical accommodation and discontinued any further access to his

cane. (RE 17 PageID 99; RE 66 PageID 500-01.) Contemporaneous medical
records state that Mr. Creech’s cane was “not medically indicated based
upon mobility” and that Mr. Creech walked with a “swift gate using [a]

cane.” (RE 73 PageID 863-66.) Later, in an affidavit attached to the
Department’s summary-judgment motion, the nurse practitioner stated that
his determination was based on a review of Mr. Creech’s medical file and

the nurse practitioner’s personal observations of Mr. Creech “during a clinic
evaluation” and “walking in the yard and through the hallways.” (RE 73
PageID 842.) The nurse practitioner also generally cited “institutional safety

concerns regarding the use of a cane,” even though Mr. Creech had never
used his cane improperly. (Id.) Mr. Creech requested that his cane to be
returned to him, but the Department refused. (RE 17 PageID 105-06.)

  Without his cane, Mr. Creech’s health rapidly deteriorated. (RE 65 PageID
401-02.) In the first year after his cane was taken away from him, Mr. Creech
continued to try to walk outside every day. (RE 66 PageID 509-10.) But after

“a couple of bad spells where [he would] almost miss getting back to the

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dorm for count … because [he] was aching so bad [he] couldn’t hardly
walk,” Mr. Creech “slowly just quit going out there.” (Id.) Without exercise,

Mr. Creech’s pain and underlying medical conditions worsened. (RE 65
PageID 401-02.) Mr. Creech fell on several different occasions when struck
with bouts of extreme pain or when he slipped because, without a cane, he

could not maintain his balance. (RE 17 PageID 100; RE 65 PageID 409; RE 66
PageID 504-05.)
  The severe pain left Mr. Creech unable to participate in day-to-day prison

life and activities with his fellow inmates, many of whom used canes. (See
RE 17 PageID 100; RE 65 PageID 402.) At times, Mr. Creech could not walk
any distance beyond his unit without falling and had to hold onto walls or

beds to maintain his balance, even while in his unit. (RE 17 PageID 99; RE 66
PageID 504.) Mr. Creech often could not walk to the cafeteria and instead
had to rely on other inmates to carry food from the commissary back to his

cell. (RE 17 PageID 100; RE 66 PageID 512-13.)
  Mr. Creech also found it hard to make the three-quarter-mile walk to the
prison law library, which limited his library access. (RE 17 PageID 100; RE

65 PageID 402; RE 66 PageID 577-78.) He similarly struggled to get to the
gym to exercise during the winter because of the distance he had to walk
without support. (RE 17 PageID 100; RE 65 PageID 402; RE 66 PageID 579-

80.) Before his cane was taken, Mr. Creech enjoyed watching softball,

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pickleball, and horseshoes in the prison yard. (RE 66 PageID 575-77.) But
without his cane, Mr. Creech was unable to climb the bleachers to see the

games, and “[s]tanding up around the fence for a long period of time [was]
just out of the question” because of the pain. (Id. at 575-76.)
   On his worst days, Mr. Creech was unable to leave his cell. (See RE 66

PageID 523-24.) Bedridden, Mr. Creech relied on other inmates to heat up
wet towels and place them on his back to help with his pain. (Id.) Other
times, Mr. Creech could not leave the dorm and would stand only to heat up

food or use the restroom. (Id. PageID 503, 524.) “Sometimes [Mr. Creech
would] not come back out for days.” (RE 65 PageID 405.) He gained weight
and otherwise physically deteriorated to the point that “if [he] stand[s] still

for ten minutes ... it feels like [his] back is going to snap.” (Id. PageID 406; RE
66 PageID 522.)
   Mr. Creech’s cane was eventually returned to him, three years after it was

taken away, following a consultation with the prison’s then-new Chief
Medical Officer. (RE 73 PageID 840.) Mr. Creech “immediately started to try
to walk … on a daily basis” and his health is not “getting any worse.” (RE 65

PageID 406.) But “[t]he damage is done.” (RE 66 PageID 529.)

II. Procedural background
   After Mr. Creech’s cane was taken away, he asked for it back from the

prison’s chief medical inspector, who had the authority to overturn the nurse
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practitioner’s determination. (RE 17 PageID 105.) After his grievance and
appeals were rejected, Mr. Creech sued the Ohio Department of

Rehabilitation and Correction under Title II of the Americans with
Disabilities Act (ADA), 42 U.S.C. § 12131, in the Southern District of Ohio.
(Id. PageID 94.) It was only after Mr. Creech filed suit that his cane was

returned to him. (RE 73 PageID 813.) Mr. Creech claimed that the
Department violated the ADA in failing to accommodate his disability by
taking away his cane. (RE 17 PageID 99-100.) He sought both money

damages and the guaranteed return of his cane. (Id. PageID 102.)
  After the suit passed screening under the Prison Litigation Reform Act,
28 U.S.C. § 1915(a) (RE 18, Order, PageID 111), the parties cross-moved for

summary judgment. (RE 65 PageID 303; RE 73 PageID 801.) The Department
argued that Mr. Creech was not a “qualified individual with a disability”
under the ADA and had not shown that the Department had discriminated

against him based on his disability. (RE 73 PageID 815-18, 832-35). The
Department also claimed that it is entitled to Eleventh Amendment
immunity. (Id. PageID 821-32.)

  In his initial Report and Recommendations, the magistrate judge
recommended granting the Department’s cross-motion for summary
judgment. (RE 82, Magistrate Judge’s Report and Recommendations, PageID

1019.) On Mr. Creech’s ADA claim, the magistrate judge determined that Mr.

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Creech was a “qualified individual with a disability,” explaining that the
Department had “effectively conceded” that Mr. Creech needed his cane,

and that his disability interferes with activities such as walking and eating,
which undoubtedly qualify as “major life functions.” (RE 82 PageID 1014.)
The magistrate judge stated, however, that Mr. Creech’s Title II claim failed

because he did not offer evidence that the nurse practitioner’s determination
to remove his cane was not made in good faith. “[E]ven if [the Department]
were not immune from damages under the ADA,” “Creech’s claim [under

Title II] would be without merit” because the nurse practitioner exercised
his medical judgment in taking away Mr. Creech’s cane. (Id. PageID 1018-
19.)

   Regarding Eleventh Amendment immunity, the magistrate judge stated
that “Creech has not pleaded conduct by [the Department] which infringes
on rights protected by the Fourteenth Amendment.” (RE 82 PageID 1017.)

He concluded that Mr. Creech had sufficient access to the prison law library
because he was able to litigate a separate habeas corpus case in the district
court and “[t]he Constitution does not require that prisoner access to a law

library be painless.” (Id.) The magistrate judge also stated that because
walking and eating are “major life functions the Supreme Court has not held
to be protected by the Fourteenth Amendment,” protecting such activities



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under Title II “is beyond the Congressional authority conferred by § 5 of the
Fourteenth Amendment.” (Id.)

  Mr. Creech objected to the initial Report and Recommendations. (RE 85,
Pltf’s Obj. to Rep. and Recs., PageID 1033). Mr. Creech maintained that the
magistrate judge had not adequately considered the evidence he provided,

and he challenged the magistrate judge’s conclusions on the elements of the
Title II claim and on the Eleventh Amendment issue. (Id. PageID 1033-44.)
  The district court sent the case back to the magistrate judge for

reconsideration in light of Mr. Creech’s objections. (RE 86, D. Ct’s
Recommittal Order, PageID 1045.) The magistrate judge then concluded that
summary judgment should be granted to the Department on Mr. Creech’s

Title II claim because Mr. Creech did not show that his requested
accommodation—being allowed to use his cane—was reasonable. (RE 88,
Magistrate Judge’s Supp. Rep. and Recs., PageID 1063-64.) The magistrate

judge also reiterated that Title II did not validly abrogate Eleventh
Amendment immunity as to Mr. Creech’s claim because he “had not shown
any deprivation of a constitutional right protected by the Fourteenth

Amendment.” (Id. PageID 1066.) The magistrate judge maintained that,
under current law, abrogation is valid only if the plaintiff “is seeking ADA
protection for engaging in activities expressly protected by the Fourteenth

Amendment.” (Id. PageID 1065.)

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   The district court adopted the magistrate judge’s Report and
Recommendations over Mr. Creech’s objections and granted the

Department’s motion for summary judgment on Mr. Creech’s Title II claim.
(RE 94 PageID 1122-26.) Despite resolving the case by holding that Mr.
Creech was not entitled to an accommodation under the ADA, the district

court then went on to hold that the Eleventh Amendment rendered the
Department immune. (Id.); see Zibbell v. Mich. Dep’t of Hum. Servs., 313 F.
App’x 843, 850 (6th Cir. 2009) (vacating ruling on immunity question in

identical procedural circumstances).

                    SUMMARY OF THE ARGUMENT
   I. Title II of the ADA requires a public entity to provide reasonable
accommodations to ensure that qualified individuals with disabilities can
access the entity’s services, programs, or activities. Without his cane, Mr.
Creech struggled to walk to the prison yard, law library, and cafeteria. His
pain worsened and his physical fitness deteriorated. Mr. Creech is a person
with a disability under the ADA, and the Department discriminated against
him because of his disability in violation of Title II when it took away his

cane, thereby denying him the reasonable accommodation he needed to
access the prison’s services.
   II. The Eleventh Amendment does not shield the Department from Mr.

Creech’s claim for damages under Title II. Congress can validly abrogate the
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states’ Eleventh Amendment immunity when it exercises its power under
Section 5 of the Fourteenth Amendment to enact appropriate prophylactic

legislation to address constitutional violations. Congress did so here, in the
context of Title II violations that implicate prison conditions: Congress
explicitly stated its intent to abrogate Eleventh Amendment immunity,

sought to protect individuals with disabilities against unconstitutional
discrimination, and compiled an extensive record of that discrimination.
   Most importantly, Title II’s abrogation was congruent and proportional

to the underlying pattern of unconstitutional disability discrimination in
prisons. Prior to the ADA’s enactment, Congress reviewed ample evidence
of unconstitutional disability discrimination against prisoners and

attempted to ameliorate those constitutional violations through incremental
legislation. Dissatisfied with those efforts, Congress enacted Title II of the
ADA to address the intractable problem of neglect and abuse of inmates with

disabilities. Moreover, Title II regulates a circumscribed set of government
actions and is reasonably tailored to the violations of the constitutional rights
of prisoners with disabilities that Congress identified. As applied to the

context of prison administration, Title II is thus a congruent and
proportional response to disability discrimination.




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                           STANDARD OF REVIEW
   This Court reviews a grant of summary judgment de novo, “viewing all

the evidence in the light most favorable to the nonmoving party and
drawing ‘all justifiable inferences’ in his favor.” Fisher v. Nissan N. Am., Inc.,
951 F.3d 409, 416 (6th Cir. 2020) (quoting Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 255 (1986)). Pro se filings are “to be liberally construed.” Erickson v.
Pardus, 551 U.S. 89, 94 (2007) (quoting Estelle v. Gamble, 429 U.S. 97, 106
(1976)).

                                 ARGUMENT

 I. The Department violated Title II of the ADA when it denied Mr.
    Creech a reasonable accommodation for his disability.
   Congress passed the Americans with Disabilities Act “to provide a clear
and comprehensive national mandate” establishing broad civil-rights

protections for individuals with disabilities in employment, public services,
public accommodations, health services, and institutionalization. 42 U.S.C.
§ 12101(b)(1).
   Title II of the ADA provides that “no qualified individual with a disability
shall, by reason of such disability, be excluded from participation in or be
denied the benefits of the services, programs, or activities of a public entity,
or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132. To
satisfy this statutory mandate, public entities must furnish reasonable

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accommodations to individuals with disabilities “so as not to deprive them
of meaningful access to the benefits of the services such entities provide.”

Ability Ctr. of Greater Toledo v. City of Sandusky, 385 F.3d 901, 907 (6th Cir.
2004); see Wilson v. Gregory, 3 F.4th 844, 859 (6th Cir. 2021). The requirement
to reasonably accommodate individuals with disabilities “unambiguously

extends to state prison inmates.” Pa. Dep't of Corr. v. Yeskey, 524 U.S. 206, 213
(1998).
   As relevant here, the Department illegally discriminated against Mr.

Creech in violation of Title II because (1) he is disabled, (2) he is otherwise
qualified to take part in the prison’s “services, programs, or activities,” (3)
he was excluded from participation in those activities “by reason of” his

disability and (4) the Department denied Mr. Creech a “reasonable”
accommodation. 28 C.F.R. § 35.130(b)(7); see Keller v. Chippewa Cnty., Mich.
Bd. of Comm’rs, 860 F. App’x 381, 385-86 (6th Cir. 2021). As we now show,

Mr. Creech fits the statutory criteria for an accommodation and has
proposed a reasonable option: provision of a cane. The Department
unlawfully denied him that accommodation and has failed to show that

providing Mr. Creech a cane would create an undue hardship.




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    A. Mr. Creech has a disability because his injuries and pain
       substantially limit his ability to walk and stand.
   The ADA defines “disability” as a “physical … impairment that
substantially limits one or more major life activities of [an] individual”
including “walking, standing, [and] lifting.” 42 U.S.C. § 12102(1)(A), (2)(A);
see Morrissey v. Laurel Health Care Co., 946 F.3d 292, 299 (6th Cir. 2019). This
definition is to be “construed broadly in favor of expansive coverage to the
maximum extent permitted by the terms of the ADA.” 28 C.F.R. § 35.101(b);
see 42 U.S.C. § 12102(4)(A). Mr. Creech’s permanent physical injuries affect
him “all the time” (RE 66 PageID 509) and significantly limit his ability to
walk and stand. (RE 17 PageID 98-99; RE 66 PageID 503, 510, 580). Without

his cane, Mr. Creech sometimes required support to walk even within his
unit and was often unable to walk outside of his unit without falling. (RE 17
PageID 99; RE 66 PageID 503-04, 580.) He was sometimes bedridden because

he was in too much pain to stand. (RE 66 PageID 503.)
   “Courts are required to make a case by case determination of whether an
individual qualifies as ‘disabled’” using the criteria set forth by Congress.

Doe v. Salvation Army in U.S., 531 F.3d 355, 358 (6th Cir. 2008) (analyzing the
definition of disability later incorporated into the ADA’s 2008 amendments).
Thus, the parties’ focus below on the findings of the Social Security

Administration (RE 73 PageID 833) and the Department’s nurse practitioner


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(id. PageID 829-30, 835) was misplaced; those determinations are not
relevant to the Title II inquiry. Because his injuries substantially limit his

ability to walk and stand, Mr. Creech has a disability under the ADA.

    B. Mr. Creech was otherwise qualified to take part in the prison’s
       services, programs, or activities.
   A prisoner with a disability is qualified to participate in prison programs,
services, or activities if he, “with or without reasonable modifications to
rules, policies, or practices … or the provision of auxiliary aids and services,

meets the essential eligibility requirements for … participation” in those
programs, services, or activities. 42 U.S.C. § 12131(2). “‘Services, programs,
or activities’ encompasses virtually everything that a public entity does,”

Johnson v. City of Saline, 151 F.3d 564, 569 (6th Cir. 1998), including, in the
prison context, a prisoner’s daily recreational, medical, educational, and
vocational activities, United States v. Georgia, 546 U.S. 151, 157 (2006) (citing

Yeskey, 524 U.S. at 210).
   As a prisoner who was not restricted from using prison programs, Mr.
Creech was “qualified” for them. See Wright v. N.Y. State Dep’t of Corr., 831

F.3d 64, 72 (2d Cir. 2016). Before his cane was taken, Mr. Creech took walks
on the prison track and observed sports in the prison yard. (RE 65 PageID
404-05; RE 66 PageID 507, 575-76.) And—like all inmates—Mr. Creech is

qualified to receive the prison’s meals and to access the prison law library

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(both of which the Constitution otherwise demands). See Lewis v. Casey, 518
U.S. 343, 351 (1996); Farmer v. Brennan, 511 U.S. 825, 832 (1994). The

Department does not and could not contend otherwise. Indeed, the
Department acknowledges that “the [] able-bodied inmates were” accessing
the available prison “programs, services, or activities” by “go[ing] out on the

yard, go[ing] to the chow hall, [and] visit[ing] the law library.” (RE 73
PageID 817-18).

    C. The Department’s confiscation of Mr. Creech’s cane excluded him
       from meaningful access to prison services, programs, or activities
       “by reason of” his disability.
   An inmate with a disability is excluded from the prison’s services,
programs, or activities when, “as a practical matter,” he is “denied
‘meaningful access’” to them. Wright, 831 F.3d at 72; see Keller, 860 F. App’x
at 386. Denial of “meaningful access” includes restricting a prisoner’s ability
to otherwise “move freely throughout” a prison, “discourag[ing]
participation in prison activities,” causing a prisoner to “at times [be] unable
to visit the law library,” “missing meals,” and “avoid[ing] recreational time
in the prison yard.” Wright, 831 F.3d at 73; see Jaros v. Ill. Dep’t of Corr., 684
F.3d 667, 672 (7th Cir. 2012); Keller, 860 F. App’x at 386; 1 Charles R. Richey,

Manual on Employment Discrimination § 6:5 Inmates (2021).




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   After the Department took away his cane, Mr. Creech struggled to
participate in the daily life of the prison. Once an avid walker, Mr. Creech

stopped walking as much and effectively stopped using his recreational time
because of the pain he felt trying to walk without his cane. (RE 66 PageID
509-10.) The pain and risk of a damaging fall also discouraged Mr. Creech

from visiting the law library and eating meals in the cafeteria. (RE 17 PageID
100; RE 66 PageID 538-39, 575.) These limitations followed directly from, or
to use the statute’s words, “by reason of,” Mr. Creech’s disability. 42 U.S.C.

§ 12132.
   Unable to deny that Mr. Creech lacked meaningful access to the cafeteria,
law library, and other prison services without his cane, the Department

argued below that a plaintiff bringing a failure-to-accommodate claim must
show intentional discrimination by prison officials. (RE 73 PageID 832-35.)
Not so. “Two types of claims are cognizable under Title II: claims for

intentional discrimination and claims for a reasonable accommodation.” Wilson,
3 F.4th at 859 (quoting Roell v. Hamilton Cnty., 870 F.3d 471, 488 (6th Cir.
2017)) (emphasis added). As this Court has explained, a public entity’s

refusal to provide a reasonable accommodation is itself disability
discrimination, whether or not the entity harbors animus against the
individual with a disability. See Keller, 860 F. App’x at 385; Anderson v. City



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of Blue Ash, 798 F.3d 338, 353-56 (6th Cir. 2015)); cf. Fisher v. Nissan N. Am.,
Inc., 951 F.3d 409, 416 (6th Cir. 2020).

   The Department also argued that because Mr. Creech “was still able to”
participate in programs and activities to a limited extent, Mr. Creech was not
excluded from participation. (RE 73 PageID 817-18.) That is flatly wrong.

“[T]he simple fact that he successfully used them does not necessarily mean
that [Mr. Creech] had meaningful access.” Keller, 860 F. App’x at 387.
Requiring a prisoner to endure “an excessive or painful effort” to access

prison services can be a denial of meaningful access. Id. The Department may
not avoid liability because Mr. Creech was sometimes able to endure great
pain when moving around the prison without his cane.

    D. Mr. Creech’s proposed accommodation—continued use of his
       cane—was objectively reasonable, and the Department has not
       shown otherwise.
   Title II requires public entities to reasonably accommodate individuals
with disabilities to guarantee meaningful access to services, programs, and
activities. Ability Ctr. of Greater Toledo, 385 F.3d at 909-10. Determining
whether an accommodation is reasonable requires a case-by-case, fact-
specific inquiry. Anderson, 798 F.3d at 356. The magistrate judge faulted Mr.

Creech for not demonstrating that his requested accommodation was
reasonable. (RE 82 PageID 1018.) But a plaintiff need only propose an


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objectively reasonable accommodation by showing that it is both effective
and proportional to its costs. See Monette v. Elec. Data Sys. Corp., 90 F.3d 1173,

1183 (6th Cir. 1996).
   Mr. Creech’s cane was an objectively reasonable accommodation because
it posed no financial burden on the Department in 2016 and, as the

Department “effectively conceded,” the cane was reasonable and effective in
helping Mr. Creech walk from 2008 to 2016 and from 2019 onward. (RE 82
PageID 1014). Once Mr. Creech has proposed a reasonable accommodation,

the Department bears the burden of showing that the proposed
accommodation imposes an undue hardship. See Monette, 90 F.3d at 1183-84.
The Department offers no explanation why the cane was temporarily

unreasonable from 2016 to 2019 beyond the nebulous contention that canes
can be dangerous in a prison and the general observations that Mr. Creech
was sometimes able to walk around without assistance and could walk with

a “swift gait” while using his cane. (RE 73 PageID 832-34; RE 73-2 Page ID
841-42; RE 73-5 PageID 865). These assertions are unsatisfactory.
   The Department never suggested that Mr. Creech used his cane

inappropriately, nor that some increased risk arose suddenly in 2016 and
then abated in 2019. (RE 82 PageID 1018 n.5.) Indeed, Mr. Creech also alleges,
and the Department does not contest, that other inmates were permitted to

use canes between 2016 and 2019. (RE 17 PageID 100.) The Department does

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not argue that these other inmates’ canes had created a safety risk. And the
Department has provided no evidence that Mr. Creech’s possession of a cane

created a particular risk such that only his cane needed to be taken away.
  The Department’s observations that Mr. Creech could sometimes walk
around without his cane and could walk swiftly when using it run headlong

into the ADA, which states that an “episodic” impairment is a disability if it
“substantially limit[s] a major life activity when active.” 42 U.S.C.
§ 12102(4)(D); see Anderson, 798 F.3d at 354. And the ameliorative effects of

an accommodation may not be considered in determining whether an
individual requires one. 42 U.S.C. § 12102(4)(E)(i)-(ii). To determine that
continued use of an accommodation would be unreasonable because the

accommodation is working would be a “supreme absurdity.” 154 Cong. Rec.
17,741 (2008) (statement of Sen. Harkin). The Department’s lackluster
arguments that Mr. Creech’s cane was an unreasonable accommodation are

too trivial for a reasonable jury to credit. In any event, even if the
Department’s arguments were sufficiently substantial to create a genuine
dispute of material fact as to the reasonableness of Mr. Creech’s cane from

2016 to 2019, that would only underscore that the district court erred in
granting its motion for summary judgment. See Anderson, 798 F.3d at 356.




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II.The Eleventh Amendment does not shield the Department from Mr.
   Creech’s Title II claim.
   The Department violated Title II of the ADA by denying Mr. Creech a
reasonable accommodation for his disability. According to the Department,
Mr. Creech cannot recover for that violation. On the Department’s telling, no
state can ever be held accountable for refusing to provide a reasonable
accommodation to an inmate with a disability unless doing so violates the
inmate’s constitutional rights. That cannot be right. To nullify Title II’s
requirements for the class of people most reliant on state-provided services,
programs, and activities would contradict both Congress’s intent in enacting
Title II and the extensive record developed during the ADA’s drafting

process.
   Although states are generally immune from suit in federal court under
the Eleventh Amendment, Congress may abrogate a state’s immunity by

statute if it legislates through a valid exercise of its power under Section 5 of
the Fourteenth Amendment. Tennessee v. Lane, 541 U.S. 509, 517-18 (2004).
Congress’s power to enforce the Fourteenth Amendment is broad and “is

not limited to mere legislative repetition of [the Supreme Court’s]
constitutional jurisprudence,” Bd. of Trs. of Ala. v. Garrett, 531 U.S. 356, 365
(2001), though the magistrate judge mistakenly thought otherwise. (RE 88

PageID 1065.) Rather, Congress may remedy and deter actual or potential


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violations of constitutional rights by abrogating the states’ immunity for
violations of federal statutes that go beyond the Fourteenth Amendment’s

scope. Garrett, 531 U.S. at 356, 365 (2001). Congress enjoys “wide latitude” in
enacting “prophylactic” legislation and determining whether it is operating
within the bounds of its authority. City of Boerne v. Flores, 521 U.S. 507, 528

(1997).
   When (as here) a plaintiff alleges a violation of a statutory right that is not
coextensive with a constitutional right, courts ask “whether Congress’s

purported abrogation of sovereign immunity” is valid, following a multi-
step analysis articulated by the Supreme Court. United States v. Georgia, 546
U.S. 151, 159 (2006). First, Congress must have “unequivocally expressed its

intent to abrogate [Eleventh Amendment] immunity.” Kimel v. Fla. Bd. of
Regents, 528 U.S. 62, 73 (2000). Title II meets that requirement, which is not
disputed here. See 42 U.S.C. § 12202; Lane, 541 U.S. at 518.

   Second, in subjecting the states to suit, Congress must have “acted
pursuant to a valid grant of constitutional authority.” Kimel, 528 U.S. at 73.
The Supreme Court has laid out a three-step test for assessing whether an

abrogation is valid: (1) Congress must have identified the constitutional
right or rights it sought to enforce, (2) Congress must also have identified a
history and pattern of state violations of those rights, and (3) the abrogation

must be an appropriate response a history and pattern of violations. Lane,

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541 U.S. at 530; City of Boerne, 521 U.S. at 520. These steps are designed to
help courts determine whether the prophylactic legislation is congruent and

proportional to the constitutional harms identified by Congress. See Kimel,
528 U.S. at 81-83. We now turn to that analysis.

        A. The relevant context for the Eleventh Amendment inquiry is
           Title II violations that implicate prison administration.
   The City of Boerne inquiry is a context-specific analysis that assesses
whether Section 5 legislation is an “appropriate response” to a “history and

pattern of unequal treatment,” Lane, 541 U.S. at 530, in a particular “area[] of
public life,” id. at 516. That analysis looks beyond the specific harms suffered
by the plaintiff to consider the “class of cases” implicated by the plaintiff’s

claims. Id. at 531.
   Lane, for example, concerned two people with paraplegia. One plaintiff
“alleged that he was compelled to appear to answer a set of criminal charges

on the second floor of a county courthouse that had no elevator.” Lane, 541
U.S. at 513. When he refused to crawl up the stairs or be carried into the
courtroom, he “was arrested and jailed for failure to appear.” Id. at 514. The

other plaintiff, a court reporter, alleged that she “lost both work and an
opportunity to participate in the judicial process” because she could not
access several courthouses. Id. The Supreme Court held that Title II validly

abrogated Eleventh Amendment immunity in the entire “class of cases

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implicating the accessibility of judicial services.” Id. at 531. Despite the
specific facts at issue—the plaintiffs’ inability to physically enter courthouses

on their own because of their particular disability, paraplegia—the Court
described the case as generally implicating “the right of access to courts.” Id.
at 523. The Court discussed the variety of constitutional protections for that

broad right, including the Sixth Amendment Confrontation Clause right of
a criminal defendant to be present at trial, a civil litigant’s Due Process
Clause right to a “meaningful opportunity to be heard,” a criminal

defendant’s right to be tried by a “jury composed of a fair cross section of
the community,” and the public’s First Amendment right to access criminal
proceedings. Id.

   Similarly, in Nevada Department of Human Resources v. Hibbs, 538 U.S. 721
(2003), the Supreme Court held that the family-leave provisions of the
Family and Medical Leave Act of 1993 (FMLA), 29 U.S.C. §§ 2601-2654, were

a valid exercise of Congress’s Section 5 power to combat unconstitutional
gender discrimination as applied to public entities. Id. at 738-39. The plaintiff
was a male employee who had applied for family leave to care for an ailing

spouse, and his complaint did not claim unconstitutional gender
discrimination. Id. at 725. But, in analyzing whether the FMLA validly
abrogated the states’ immunity, the Court looked beyond the specific facts

to examine in great detail the broader class of constitutional harms that

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Congress sought to address by creating the statute: “gender-based
discrimination in the administration of leave benefits.” Id. at 735.

   It makes sense that Lane and Hibbs looked beyond the plaintiffs’
circumstances to analyze the class of cases implicated by their claims. Lane,
541 U.S. at 531; Hibbs, 538 U.S. at 730-35. Congress is authorized under the

Fourteenth Amendment to “remedy and to deter violation[s] of rights
guaranteed thereunder by prohibiting a somewhat broader swath of
conduct, including that which is not itself forbidden by the Amendment's

text.” Kimel, 528 U.S. at 81. Approaching this case at the same level of
generality, the question presented here is whether Title II validly abrogates
Eleventh Amendment immunity as applied to disability discrimination in

the context of prison administration, to which we now turn.

       B. Congress identified the constitutional rights that it sought to
          enforce when it enacted Title II.
   “The first step of the Boerne inquiry requires [a court] to identify the
constitutional right or rights that Congress sought to enforce when it enacted
Title II.” Lane, 541 U.S. at 522. In Lane, the Supreme Court explained that Title

II seeks to eliminate irrational classifications based on disability in violation
of the Equal Protection Clause. Id. at 522-23. The Court also discussed the
“right of access to the courts,” as protected by the Due Process Clause, the



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Confrontation Clause of the Sixth Amendment, and the First Amendment,
“infringements of which are subject to more searching judicial review.” Id.

   Beyond the rights identified in Lane, Title II reasonable-accommodation
claims also implicate the “constellation of rights applicable in the prison
context,”     including     the   Eighth    Amendment’s         protections    against

“inadequate medical care and inhumane conditions of confinement.”
Georgia, 546 U.S. at 162-63 (Stevens, J., concurring). Under the Eighth
Amendment, state officials “must ensure that inmates receive adequate

food, clothing, shelter, and medical care, and must take reasonable measures
to guarantee the safety of inmates.” Farmer v. Brennan, 511 U.S. 825, 832-33
(1994) (quotation marks omitted). Officials may not act with deliberate

indifference to inmates’ serious medical needs. Estelle v. Gamble, 429 U.S. 97,
104-06 (1976). Inmates also retain their due-process liberty rights including
freedom from restraints that “impose[] atypical and significant hardship on

the inmate in relation to the ordinary incidents of prison life,” Sandin v.
Conner, 515 U.S 472, 484 (1995), and states have an affirmative obligation to
ensure that prisoners retain the fundamental right to access the courts,

Bounds v. Smith, 430 U.S. 817, 824-25 (1977). This array of constitutional
protections forms the basis for Congress’s power to enact prophylactic
legislation to protect inmates with disabilities from unconstitutional prison

conditions.

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       C. Congress identified a history and pattern of state violations of
          the constitutional rights of people with disabilities.
   The Supreme Court has determined that Title II satisfies the second step
of the Boerne inquiry: Congress enacted Title II in response to “pervasive
unequal treatment of persons with disabilities in the administration of state
services and programs, including systematic deprivations of fundamental
rights.” Lane, 541 U.S. at 524. Because Congress documented a “pattern of
unequal treatment in the administration of a wide range of public services,
programs, and activities, including the penal system,” it is “clear beyond
peradventure that inadequate provision of public services and access to
public facilities was an appropriate subject for prophylactic legislation.” Id.

at 525, 529. “Congress’s findings were sufficiently extensive” and the ADA’s
provisions “can be understood as responsive to or designed to prevent
unconstitutional behavior.” Dare v. California, 191 F.3d 1167, 1175 (9th Cir.

1999) (internal quotations omitted) (citing Fla. Prepaid Postsecondary Educ.
Expense Bd. v. Coll. Sav. Bank, 527 U.S. 627, 646 (1999)); see Phiffer v. Columbia
River Corr. Inst., 384 F.3d 791, 792-93 (9th Cir. 2004) (reaffirming Dare’s

holding that Title II validly abrogated states’ immunity in a case involving a
prisoner’s reasonable-accommodation claim). Thus, as most circuits have
held, Lane conclusively answered the question whether there was sufficient

evidence of discrimination to authorize Congress to enact valid prophylactic


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legislation for the entirety of Title II. See, e.g., Constantine v. Rectors & Visitors
of George Mason Univ., 411 F.3d 474, 485 (4th Cir. 2005); Ass’n for Disabled

Ams., Inc. v. Fla. Int'l Univ., 405 F.3d 954, 958 (11th Cir. 2005); Klingler v. Dir.,
Dep’t of Revenue, 455 F.3d 888, 896 (8th Cir. 2006).
   A minority of circuits hold that courts should “focus the entire City of

Boerne test on the particular category of state conduct at issue.” Toledo v.
Sanchez, 454 F.3d 24, 35 (1st Cir. 2006); see Guttman v. Khalsa, 669 F.3d 1101,
1117 (10th Cir. 2012). Even if this Court agrees, Congress developed an

extensive record documenting the unconstitutional treatment of inmates by
state governments, which, as we now show, is more than sufficient to satisfy
the congruence-and-proportionality inquiry.

        D. Congress’s abrogation of Eleventh Amendment immunity is
           congruent and proportional to the pattern of constitutional
           violations against prisoners with disabilities.
   Under the last step of the Boerne analysis, this Court must determine
whether Congress’s abrogation of Eleventh Amendment immunity for Title
II claims that address prison administration is “congruent and proportional”
to the class of constitutional violations at issue. Lane, 541 U.S. at 531; see City
of Boerne, 521 U.S. at 520. The Supreme Court has not “set forth an easily

administrable test for determining proportionality or identified the factors
that a court should consider in assessing congruence,” but its precedent


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indicates that this Court should evaluate “how well-tailored the
congressional remedy is to the nature of the right and the history of

violations.” Guttman, 669 F.3d at 1122. When the harms that Congress sought
to address are grave and intractable, as here, then Congress may be justified
in crafting a powerful remedy. See Lane, 541 U.S. at 523-24; Kimel, 528 U.S. at

88.
      As discussed in depth below, Congress spent over a decade
unsuccessfully attempting to stamp out the abuse of people with disabilities

in state prisons. By enacting Title II of the ADA, Congress again tried to
address that “[d]ifficult and intractable problem[],” Kimel, 528 U.S. at 88, by
forbidding discrimination against people with disabilities in state prisons

and requiring those prisons to reasonably accommodate the needs of
inmates with disabilities. “Faced with considerable evidence of the
shortcomings of previous legislative responses, Congress was justified in

concluding that this difficult and intractable problem warranted added
prophylactic measures in response.” Lane, 541 U.S. at 531 (internal citations
omitted). And Title II is a limited response to that pervasive problem, as it

requires only reasonable (not optimal) accommodations for inmates with
disabilities and is subject to a variety of other restrictions on inmates’ ability
to litigate.



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      1. Before enacting the ADA, Congress spent decades unsuccessfully
         attempting to address state abuses of inmates with disabilities.
   Congress’s pre-ADA efforts to protect the constitutional rights of
individuals with disabilities were ineffective. In the early 1970s, prompted
by reports of state prison officials denying medical care to and otherwise
abusing inmates with disabilities, Congress began to investigate unequal
treatment of inmates with disabilities in state facilities. See, e.g., Corrections,
Part VIII, Prisons, Prison Reform, and Prisoners' Rights: Michigan: Hearings
Before Subcomm. No. 3 of the H. Comm. on the Judiciary, 92d Cong. 129-36, 153,
154 (1972). Alarmed by the conditions to which inmates with disabilities
were subjected, state and federal courts began to actively “call[] upon the

United States Department of Justice to protect institutionalized persons from
deplorable conditions in institutions for the mentally disabled, juveniles,
and prisoners, among others.” H.R. Rep. No. 95-1058, at 7 (1978).

   Congress held a series of hearings focused specifically on the
mistreatment of institutionalized people with disabilities. The hearings
revealed widespread abuses. One prison denied a paralyzed inmate any

means of washing himself, another forced a suicidal inmate to remain in
unsafe conditions that led to his suicide, and another refused to provide a
medically appropriate diet for inmates with diabetes. Corrections, Part VIII,

Prisons, Prison Reform, and Prisoners' Rights: Michigan: Hearings Before


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Subcomm. No. 3 of the H. Comm. on the Judiciary, 92d Cong. 136, 153, 154 (1972).
These early hearings revealed an unmistakable and appalling pattern of

widespread neglect of the physical and psychiatric needs of inmates with
disabilities. Id. at 159-60. When one paralyzed inmate was unable to access
even a sink, a guard told him the jail was “not a hotel.” Id. at 154. When

another injured his head because of severe and repeated epileptic seizures,
prison officials returned him again and again to the same conditions where
he injured his head in repeated falls. Id.

   Motivated in part by this alarming evidence, in 1973, Congress passed the
Rehabilitation Act to secure the civil rights of institutionalized people with
disabilities. That Act, which includes language that would later become part

of the ADA, provided that no person with a disability “shall, solely by reason
of her or his disability, be excluded from the participation in, be denied the
benefits of, or be subjected to discrimination under any program or activity

receiving Federal financial assistance.” 29 U.S.C. § 794(a). Behind that
straightforward language was Congress’s overarching goal: “giv[ing] the
institutionalized person a sense of being able to affect the environment in

which he is confined and the rules and regulations in his day-to-day
existence.” S. Rep. No. 92-1135, at 25 (1972).
   In 1980, nearly a decade of congressional investigation culminated in the

passage of another important law: the Civil Rights of Institutionalized

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Persons Act (CRIPA). See 42 U.S.C. § 1997. The CRIPA hearings had revealed
even more extensive patterns of state abuse and indifference to

institutionalized people with disabilities. In all, House and Senate
Committees produced thousands of pages of reports and transcripts from
days of testimony about the mistreatment of institutionalized people with

disabilities. See, e.g., Civil Rights for Institutionalized Persons: Hearings Before
the Subcomm. on Cts., C.L., & the Admin. of Just. of the H. Comm. on the Judiciary,
95th Cong. (1977); Civil Rights of Institutionalized Persons: Hearings on S. 1393

Before the Subcomm. on the Const. of the S. Comm. on the Judiciary, 95th Cong.
639, 1066-67 (1978).
   The hearings revealed that prisons and other institutions were not just

indifferent to inmates with disabilities’ constitutional rights but were often
themselves the perpetrators of abuse against inmates with disabilities. One
Senate committee heard testimony about an inmate with a wheelchair locked

in a cell for years, unable to move. Civil Rights of Institutionalized Persons:
Hearings on S. 1393 Before the Subcomm. on the Const. of the S. Comm. on the
Judiciary, 95th Cong. 639 (1978). That committee also heard about a

paralyzed inmate whose bedsores grew infected with maggots when the
prison did not clean or move him. Id. at 1067. In response, CRIPA was
enacted “to secure for thousands of institutionalized persons in this country

the full guarantees of the U.S. Constitution and Federal laws that are

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designed to govern and protect all of us.” Civil Rights of Institutionalized
Persons: Hearing on S. 1393 Before the S. Subcomm. on the Const. of the S. Comm.

on the Judiciary, 95th Cong. 1 (1977) (statement of Sen. Birch Bayh, Chairman,
S. Subcomm. on the Const.).
   But CRIPA proved insufficient to protect the constitutional rights of

inmates with disabilities. After CRIPA’s passage, the U.S. Commission on
Civil Rights issued a report detailing persistent, widespread violations of the
constitutional rights of institutionalized individuals with disabilities,

including the “[i]mproper handling and communication with handicapped
persons by law enforcement personnel,” “inadequate treatment … programs
in penal and juvenile facilities,” and an “inadequate ability to deal with

physically handicapped accused persons and convicts,” including a lack of
basic facilities like accessible cells and toilets. U.S. Comm’n on C.R.,
Accommodating the Spectrum of Individual Abilities 168 (1983); see also Lane, 541

U.S. at 527.
   CRIPA authorizes the Attorney General to investigate a facility suspected
of violating CRIPA and sue the state if that investigation reveals actual

violations. See 42 U.S.C. § 1997a, 1997b(a)(2). But CRIPA’s enforcement
framework has proved more of a last resort tangled in red tape than an actual
means for guaranteeing individual rights. CRIPA, after all, “only allows DOJ

to take action to remedy systemic problems.” Office of Juvenile Justice and

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Delinquency Prevention, U.S. Dep’t of Justice, Beyond the Walls: Improving
Conditions of Confinement for Youth in Custody (1998). 1 And most

importantly, CRIPA did not create any new substantive rights for
individuals with disabilities: The legislation did “not create a whole new
panopoly of rights for [the institutionalized]. It create[d] no rights for

anyone.” Civil Rights of Institutionalized Persons: Hearings on H.R. 10 Before the
Subcomm. on Cts., C.L., & the Admin. of Just. of the H. Comm. on the Judiciary,
96th Cong. 4 (1979) (statement of Rep. Tom Railsback). By passing the ADA,

as discussed below, Congress took a more forceful approach to protecting
prisoners with disabilities from abuse, neglect, and mistreatment.

       2. The ADA addressed the persistent abuse of individuals with
          disabilities in state prisons that prior legislation failed to remedy.
   The ADA grew in part from the shortcomings of CRIPA and broadened
the protections in the Rehabilitation Act. The ADA created guarantees to

people with disabilities to be free from both discrimination and the right to
reasonable accommodations from public entities, and backed those basic
guarantees by creating a private right of action to sue public entities that

violate those protections.




   1       https://ojjdp.ojp.gov/sites/g/files/xyckuh176/files/pubs/walls/sect-
01.html
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   In crafting the ADA’s more forceful approach, Congress compiled an
immense record documenting the continuing need to address discrimination

against inmates with disabilities. The materials before Congress led it to
identify “institutionalization” as a “critical area[]” in which “discrimination
against individuals with disabilities persists.” 42 U.S.C. § 12101(a)(3).

   When considering the ADA, Congress held thirteen hearings that
included testimony from expert witnesses and individuals with disabilities
about the mistreatment of people with disabilities in the penal system. See

Garrett, 531 U.S. at 389-90 (Appendix A to opinion of Breyer, J., dissenting)
(collecting congressional hearings). Individuals were “deprived of
medications while in jail, resulting in further seizures,” H.R. Rep. No. 101-

485, pt. 3, at 490 (1990), and adults with traumatic brain injuries were jailed
because of “aberrant behavior,” Oversight Hearing on H.R. 4498, Americans
with Disabilities Act of 1988: Before Subcomm. on Select Educ. of the H. Comm. on

Educ. and Labor, 100th Cong. 1080 (1988) (statement of Ilona Durkin). A
service provider to individuals with hearing impairments testified that the
provider had “clients who have been arrested and held in jail over night

without ever knowing their rights nor what they are being held for.” Joint
Hearing on H.R. 2273, The Americans with Disabilities Act of 1989: Before
Subcomm. on Select Educ. and Emp. Opps. of the H. Comm. on Educ. and Labor,



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101st Cong. 1331 (1989) (testimony of Justin Dart, chairperson of the Task
Force on the Rights and Empowerment of Americans with Disabilities).

   Congress also created the Congressional Task Force on the Rights and
Empowerment of Americans with Disabilities to produce reports and hold
forums, which revealed “hundreds of instances of adverse treatment at the

hands of state officials” which “Congress could have reasonably believed …
represented     signs   of   a   widespread      problem     of    unconstitutional
discrimination.” Garrett, 531 U.S. at 379 (Breyer, J., dissenting). Some

examples submitted to Congress included state officials arresting and
holding Deaf individuals overnight in jail without providing interpreters; a
jail’s failure to provide medical treatment to a person with a disability; state

prisons, among other public institutions, lacking telecommunication devices
for the Deaf; and inmates with developmental disabilities being subjected to
longer terms and abuse by other inmates. Garrett, 531 U.S. at 391-424

(Appendix C to opinion of Breyer, J., dissenting).
   In its deliberations on the ADA, Congress also considered the same 1983
U.S. Civil Rights Commission report that had identified persistent abuse of

inmates with disabilities after CRIPA’s enactment, as well as reports by other
bodies. U.S. Comm’n on C.R., Accommodating the Spectrum of Individual
Abilities 168 (1983); see S. Rep. No. 101-116, at 6 (1989); H.R. Rep. No 101-485,

at 28 (1990).

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   The voluminous reports, testimony, and other evidence presented to
Congress in its ADA deliberations were clear and overwhelming in their

conclusions: State agencies routinely violated the constitutional rights of
inmates with disabilities, and those violations were not adequately
addressed by existing legislation. The ADA, then, was Congress’s effort to

comprehensively address persistent disability discrimination in all areas of
life, including in prison administration.

       3. Pre-ADA court decisions contained myriad examples of prisons
          violating the constitutional rights of inmates with disabilities.
   In addition to the voluminous legislative history before Congress, court
decisions predating the ADA’s passage “document a pattern of unequal

treatment in the administration of a wide range of public services, programs,
and activities, including the penal system.” Lane, 541 U.S. at 525. Congress is
presumed to be familiar with federal precedents and to have considered

them when drafting related legislation. See Jackson v. Birmingham Bd. of Educ.,
544 U.S. 167, 176 (2005). These decisions dealt with countless failures to
accommodate the needs of inmates with disabilities as well as prisons’

frequent neglect and abuse of vulnerable prisoners. We recount only a
fraction of them here. 2

   2For an extensive recounting of relevant cases, see Brief for the United
States as Petitioner at 1a-27a, United States v. Georgia, 546 U.S. 151 (2006) (No.
04-1203).
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   Prisons across the country often failed to accommodate the basic needs of
prisoners with disabilities. One prison put an inmate in a cell with a toilet

that could not accommodate his paraplegia. LaFaut v. Smith, 834 F.2d 389,
392 (4th Cir. 1987). The inmate had to “lie on the floor, drag his body across
it, and then pull himself up onto the commode,” but “due to the size of the

toilet seat, the absence of a railing, and his atrophied leg muscles and
narrowed buttocks, he would slip down into the toilet bowl water.” Id. He
was forced to live in these conditions for two months before any attempt was

made to accommodate him, and he was not given an appropriate cell until
after he contracted a kidney infection. Id. at 392-93.
   Ramos v. Lamm, 639 F.2d 559, 577-78 (10th Cir. 1980), upheld a district

court’s finding that a prison’s mental-health staff was unconstitutionally
“grossly inadequate” when it provided only one psychiatrist who visited the
prison once every two months and the prison’s other mental-health staff

were “overworked, undertrained, and underqualified.” And in Cummings v.
Roberts, 628 F.2d 1065, 1068 (8th Cir. 1980), a prisoner bedridden by a back
injury alleged that prison staff failed to provide him a wheelchair, forcing

him to drag himself along the floor.
   Prisons also neglected inmates with disabilities who required assistance,
even in the face of extreme medical need. In Leach v. Shelby Cnty. Sheriff, 891

F.2d 1241, 1243 (6th Cir. 1989), this Court considered the plight of an inmate

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with paraplegia facing “deplorable” treatment. He was not bathed for
several days despite the danger of a recurring ulcer, was forced to lie in his

own urine due to a lack of catheters, and received insufficient aid for his
bowel training needs. Id. He left jail with sores on his ankles and buttocks.
Id.

      Another prison failed to provide medication to an epileptic inmate.
Miranda v. Munoz, 770 F.2d 255, 257-59 (1st Cir. 1985). After repeated seizures
and no serious response from prison staff, the inmate died. Id. at 259. And,

in Maclin v. Freake, 650 F.2d 885, 889 (7th Cir. 1981), a paraplegic inmate
alleged that he had not received physical therapy for nearly a year after
entering prison.

      Most egregiously, some prisons deliberately abused inmates with
disabilities. In Parrish v. Johnson, 800 F.2d 600, 602-03 (6th Cir. 1986), this
Court detailed a prison guard’s cruelty toward two paraplegic inmates. The

inmates had diminished control over their bladders and bowels and
required assistance when they soiled themselves. Id. at 602. But the guard
“habitually refus[ed] to relay or procrastinat[ed] in transmitting Parrish’s

requests for aid to the nurses,” forcing the inmates to sit in their own waste
for significant periods of time. Id. at 602-03. Worse, he repeatedly brandished
a knife in front of the inmates, extorted food from them, placed meals out of

their reach, opened and read their private mail, and verbally abused them,

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at one point calling an inmate a “‘crippled bastard’ who should be dead.” Id.
at 603.

   Similarly, prison officials transferred a mentally ill inmate into an
overcrowded jail with “chaotic and violent” conditions. Cortes-Quinones v.
Jimenez-Nettleship, 842 F.2d 556, 558-60 (1st Cir. 1988) (Breyer, J.). Within

months, the inmate was murdered. Id. at 560. Another mentally ill inmate
was placed in a cell without windows, interior lights, a bunk, floor covering,
or a toilet except for a hole in the concrete floor, without clothing or bedding,

for fifty-six days. Littlefield v. Deland, 641 F.2d 729, 730 (10th Cir. 1981).
                                       ***
   In sum, Congress passed the ADA after years of incremental and

inadequate steps to address the entrenched abuse and neglect of prisoners
with disabilities, “against a backdrop of pervasive unequal treatment in the
administration of state services and programs, including systematic

deprivations of fundamental rights.” Lane, 541 U.S. at 524. The ADA thus
responded to this country’s “history of unfair and often grotesque
mistreatment” of institutionalized people with disabilities. City of Cleburne v.

Cleburne Living Ctr., Inc., 473 U.S. 432, 438 (1985) (quotation marks omitted).
“Faced with considerable evidence of the shortcomings of previous
legislative responses, Congress was justified in concluding that this difficult



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and intractable proble[m] warranted added prophylactic measures in
response.” Lane, 541 U.S. at 531 (quotation marks omitted).

      4. Title II is well-tailored to the history of constitutional violations
         inflicted on inmates with disabilities.
   In light of the well-documented history of states’ unconstitutional
behavior towards inmates with disabilities, Title II was a reasonable and
proportional response. See Lane, 541 U.S. at 533. Title II’s requirements are
modest    in   comparison     to   the    immense,       intractable   problem   of

unconstitutional discrimination against inmates with disabilities that
Congress set out to remedy.
   For starters, Title II’s protections extend only to inmates that meet the

definition of a “qualified individual with a disability”: Inmates must show
that they are “disabled” as defined by the ADA and that they are “qualified”
to take part in “services, programs, or activities” provided by a public entity.

42 U.S.C. § 12132; cf. Lane, 541 U.S. at 531-32. Moreover, they must prove that
the discrimination was “by reason of” the disability. 42 U.S.C. § 12132
(emphasis added). That causation requirement means that, when a prisoner

with a disability suffers harm that is unrelated to his disability, Title II does
not provide relief.
   Similarly, Title II does not require prisons to wholly restructure the

programs they offer inmates. A public entity is obligated to accommodate

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an individual’s disability only when the accommodation does not “impose
an undue financial or administrative burden … or effect a fundamental

alteration in the nature of the service.” Lane, 541 U.S. at 532 (citing 28 C.F.R.
§§ 35.150(a)(2), (a)(3)). The reasonableness standard is sensitive to the needs
of the prison, and the law does not require a prison to offer any particular

service. Rather, Title II mandates only that, once a prison decides to provide
its inmates with access to a service, program, or activity, it must be “readily
accessible to and usable by individuals with disabilities” “when viewed in

its entirety.” 28 C.F.R. § 35.150(a). In sum, by its own terms, Title II regulates
only a circumscribed set of government actions.
   Moreover, the Prison Litigation Reform Act of 1995 imposes additional

limits on incarcerated litigants’ access to courts. Inmates must first exhaust
administrative remedies before filing suit. See 42 U.S.C. § 1997e(a). The
statute requires the dismissal of frivolous claims, 28 U.S.C. § 1915(e)(2)(B)(i),

and if an inmate brings three federal suits that are dismissed as frivolous,
malicious, or for failure to state a claim, the inmate generally may not file
further actions in forma pauperis. 28 U.S.C. § 1915(g). The PLRA also erects

barriers to the regulation of prison conditions. See 18 U.S.C. § 3626. A court
may not grant relief in an action involving prison conditions unless the relief
is “narrowly drawn” and is the “least intrusive means” required to correct

the violation for a specific plaintiff. Id. § 3626(a)(1)(A). Courts are also

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required to give “substantial weight to any adverse impact on public safety
or the operation of a criminal justice system” that would result from the

requested relief. Id. These provisions give states significant control over
prison conditions and allow court intervention under Title II (or any other
statute or constitutional provision) only in specified circumstances.

  Title II’s limited impositions on state prison administration are thus an
appropriate, modest response to the intractable problem of unconstitutional
discrimination against incarcerated people with disabilities. Congress’s

abrogation of the Department’s Eleventh Amendment immunity is valid,
and Mr. Creech’s claim should go forward.

                              CONCLUSION
  This Court should reverse the district court’s judgment and remand for
further proceedings on the merits.




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Respectfully submitted,
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                             December 10, 2021




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                    CERTIFICATE OF COMPLIANCE
  This document complies with Federal Rule of Appellate Procedure

32(a)(7)(B)(i)’s type-volume limitation because it contains 10,030 words,
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December 10, 2021                               /s/ Hannah Mullen
                                                Hannah Mullen
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             DESIGNATION OF RELEVANT DOCUMENTS
   Under Sixth Circuit Rules 28(b) and 30(g), Appellants designate the

following filings in the record as entries that are relevant to this appeal:


Description of entry                            Docket No.       PageID

  Complaint                                     RE 2             35-42


  Answer                                        RE 11            78-82


  Amended Complaint                             RE 17            94-110


  Order                                         RE 18            111


Plaintiff’s Motion for Summary Judgment

  Mot. for Summ. J.                             RE 65            303-410


  Creech Deposition                             RE 66            411-781


  Def’s Opp. and Cross-Mot. for Summ. J.        RE 73            801-883


  Pltf’s Reply to Def’s Opp.
                                                RE 80            979-989
  and Response to Cross-Mot.
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  Def’s Reply to Pltf’s Response               RE 81            990-1003


Reports and Recommendations

  Magistrate Judge’s Rep. and Recs.            RE 82            1004-1020


  Pltf’s Obj. to Rep. and Recs.                RE 85            1032-1044


  D. Ct’s Recommittal Order                    RE 86            1045-1046


  Magistrate Judge’s Supp. Rep. and Recs.      RE 88            1061-1067


  Pltf’s Obj. to Supp. Rep. and Recs.          RE 91            1071-1118


Orders and opinions


 Summ. J. Opinion and Order                    RE 94            1122-1126


 Entry of Judgment                             RE 95            1127


Notice of Appeal


  Notice of Appeal                             RE 98            1133-1142
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                          CERTIFICATE OF SERVICE


  I certify that on December 10, 2021, I filed this brief with the Clerk of the

Court electronically via the CM/ECF system. All participants in this case are
registered CM/ECF users and will be served electronically via that system.


December 10, 2021                                /s/ Hannah Mullen
                                                 Hannah Mullen
